UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------X
In re.

Trisha Catacutan                                                              CASE NO. 16-42675
                                                                              CHAPTER 13
                 Debtor.
----------------------------------------------------------X


                  DEBTOR’S OPPOSITION TO TRUSTEE’S MOTION TO DISMISS
                             PURSUANT TO 11 U.S.C. 1307(c)(1),


         The aforementioned debtor, by and through her attorney of record, Wendy Marie Weathers, Esq.,

of Cabanillas and Associates, P.C. hereby opposes the Trustee’s Motion to Dismiss the Chapter 13 case

(the “Motion”) pursuant to 11 U.S.C. §1307 (c) and in support thereof shows unto the court the following:



         1.          The Debtor commenced this case by filing a voluntary petition under Chapter 7 on June

17, 2016. Pursuant to Stipulation and Order entered October 14, 2016, the instant case was converted to

one under Chapter 13 and thereafter, Marianne DeRosa was duly appointed and qualified as Trustee.

         2.          Debtor has submitted the 2018 tax returns to Trustee.

         3.          Debtor is to turn over the 2018 tax refund, in the amount of $5,026.00.

         4.          Debtor had an unexpected medical treatment done and caused her to use a partial amount

of her tax refund.

         5.          Debtor is going to make a good faith payment of $2,500 on October 29, 2019. Debtor

plans to cure her arrears on January 2020.

         6.          Debtor is up to date with her monthly Chapter 13 plan payments.

         7.          Notwithstanding, the Debtor has been attempting to stay current with the Trustee and

making good faith plan payment.




{01619720     /1 }
        WHEREFORE, the Debtor respectfully requests that this Honorable Court deny the Trustee’s

Motion to Dismiss this Chapter 13 case; and the debtor be granted such other and further relief as this

Court deems proper.



Dated: White Plains, NY
October 29, 2019

                                                 CABANILLAS & ASSOCIATES, P.C.

                                 BY:               /s/ Wendy M. Weathers________
                                                      Wendy M. Weathers, Esq.
                                                      120 Bloomingdale Road, Suite 400
                                                      White Plains, NY 10605
                                                      (914) 418-2018
                                                      wweathers@cabanillaslaw.com




{01619720   /1 }
